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1                      IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
2                                EASTERN DIVISION
3
4    NATHSON E. FIELDS,            )
                                   )
5                      Plaintiff, )             Docket No. 10 C 1168
                                   )
6                 vs.              )
                                   )
7    CITY OF CHICAGO, et al.,      )            Chicago, Illinois
                                   )            February 28, 2011
8                      Defendants. )            10:10 a.m.
9
                            TRANSCRIPT OF PROCEEDINGS
10                  BEFORE THE HONORABLE MATTHEW F. KENNELLY
11
     APPEARANCES:
12
13   For the Plaintiff:           LAW OFFICES OF H. CANDACE GORMAN
                                       BY: MS. H. CANDACE GORMAN
14                                     220 South Halsted Street
                                       Suite 200
15                                     Chicago, Illinois 60661
16
                                  LAW OFFICE OF MOLLY ARMOUR
17                                     BY: MS. MOLLY ARMOUR
                                       4050 North Lincoln Avenue
18                                     Chicago, Illinois 60018
19
20   For the Defendant:           DYKEMA GOSSETT PLLC
                                       BY: MR. DANIEL M. NOLAND
21                                          MR. PAUL A. MICHALIK
                                       10 South Wacker Drive
22                                     Suite 2300
                                       Chicago, Illinois 60606
23
24                                COOK COUNTY STATE'S ATTORNEY
                                       BY: MR. STEPHEN L. GARCIA
25                                     500 Richard J. Daley Center
                                       Chicago, Illinois
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1                  LAURA M. BRENNAN - Official Court Reporter
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2                           Chicago, Illinois 60604
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1           (The following proceedings were had in open court:)
2                THE CLERK: 10 C 1168, Fields v. City.
3                MS. GORMAN: Good morning, your Honor; Candace Gorman
4    for the plaintiff.
5                MS. ARMOUR: Molly Armour for the plaintiff as well.
6                MR. MICHALIK: Paul Michalik for the City defendants
7    and Daley.
8                MR. NOLAND: Dan Noland for the same defendants.
9                MR. GARCIA: And Stephen Garcia for the State's
10   Attorney defendants.
11               THE COURT: Unfortunately, I didn't look at today's
12   schedule ahead of time, and if I had realized you were on, I
13   would have called you off because I'm not ready to rule on the
14   motions to dismiss yet.
15               I'm guessing it is going to be probably -- I'm going
16   to say it's going to be within the next three weeks. It may
17   end up being a little bit shorter than that, but it should be
18   within the next three weeks.
19               So I'm not going to set another status date. I will
20   do that once I rule on it. So sorry to make you come in
21   today.
22               MS. GORMAN: Thank you, your Honor.
23               MR. MICHALIK: Thank you.
24               MS. ARMOUR: Thank you.
25               MR. GARCIA: Thank you, your Honor.
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1                THE COURT: Take care.
2         (Which were all the proceedings had in the above-entitled
3    cause on the day and date aforesaid.)
4
5                               C E R T I F I C A T E
6
7              I hereby certify that the foregoing is a true and
8    correct transcript of the above-entitled matter.
9
10
11   /s/ Laura M. Brennan                                  November 1, 2017
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13
     Laura M. Brennan
14   Official Court Reporter                                       Date
     Northern District of Illinois
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